AO $I (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the FILED
a. CHARLOTTE, NC
Western District of North Carolina

FEB 10 2017
United States of America )

Vv. ) . wg

US District Court
Alexandro (Alex) Castillo Case No. s:te-mj308 Western District of NC
)
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 08/16/2016 - Present in the county of Mecklenburg in the
Western District of North Carolina , the defendant(s) violated:

Code Section Offense Description
18 U.S.C. 1073 _ Unlawful Flight to Avoid Prosecution

This criminal complaint is based on these facts:

Please see attached Affidavit

@ Continued on the attached sheet. Ay |.) /

Complainant's signature

Marc Weingrad, FBI Special Agent

” Printed name and title

Sworn to before me and signed in my presence.

Date: 02/10/2017

City and state: Charlotte, North Carolina Hon. David C. Keesler, U.S. Magistrate Judge

Printed name and title

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SUPERSEDING AFFIDAVIT IN SUPPORT OF A COMPLAINT FOR UNLAWFUL

FLIGHT TO AVOID PROSECUTION

I, Mare D, Weingrad, a Special Agent with the Federal Bureau of Investigation (FBI),

being duly sworn, state as follows:

1.

Introduction
I have been employed by the FBI since February of 2003. I am currently assigned to the
Charlotte Field Office of the FBI’s North Carolina Division, and to the FBI Safe Streets
Task Force. My duties include investigation of violations of federal criminal law
throughout the Western District of North Carolina, including Mecklenburg County.
‘Through formal and on the job training, I have developed experience in investigations
dealing with violent offenses set forth in the United States Code. As a FBI Special
Agent, I am authorized to investigate violations of federal law and to execute warrants

issued under the authority of the United States.

This Affidavit and Complaint are being submitted to supersede the previous Affidavit and
Complaint issued in this case (Docket number). In the previous Complaint, CASTILLO
and his girlfriend, AHMIA FEASTER, were alleged to have committed the NC State
offense of Possession of a Stolen Motor Vehicle, a Felony. Further investigation has
revealed that CASTILLO was responsible for the murder of TRUC QUAN LY LE, aka
SANDY (victim) and remains a fugitive believed to be in the country of Mexico. After
the filing of the first Complaint, CMPD has charged CASTILLO with the murder.

The United States is applying for a Superseding Complaint, to mclude the state murder
charge, to further assist local authorities with the apprehension of CASTILLO. With the
addition of the murder to the Affidavit, the FBI can commit additional resources to
generate additional leads or tips to assist investigators to locate Castillo and take him in

to custody.

This Affidavit contains information necessary to support probable cause for the Criminal

Complaint. The information contained in this Affidavit is based on my personal

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participation in the investigation of the case and from information provided to me by
other Special Agents and Task Force Officers, as well as other federal, state, and local
law enforcement officers. Since this Affidavit is being submitted for the limited purpose
of establishing probable cause for the issuance of a Criminal Complaint, I have not
included each and every fact known to me concerning this investigation. I have set forth
only those facts which I believe are necessary to establish the requisite foundation for

probable cause.

Summary of the case

On August 10, 2016, Charlotte Mecklenburg Police Department was contacted by the
family of TRUC QUAN LY LE, a/k/a “SANDY”, who wanted to file a missing person
report for their family member, SANDY. SANDY was last seen on 08/09/2016 between
8:00 and 8:40 p.m. CMPD learned that SANDY’s vehicle, a 2003 Toyota Camry was

also missing.

CMPD leamed from SANDY’s family members that SANDY had been contacted by an
individual who requested to meet to settle an outstanding debt. CMPD were able to
access SANDY’s electronic communications and learned that SANDY communicated
with CASTILLO and coordinated a meeting on 08/09/2016 at 9:30 p.m. During the
communication, SANDY agreed to meet CASTILLO for an exchange of money.

While investigating the missing person case of SANDY, CMPD learned SANDY had
worked at Showmars restaurant with CASTILLO and FEASTER. On August 11 and 12,
2016, families of CASTILLO and FEASTER filed missing persons reports with CMPD.

CMPD completed numerous exigent orders, trap and trace search warrants for SANDY,
CASTILLO, and FEASTER’s phones. Detectives located a text message from
CASTILLO to FEASTER on 08/09/2016 at 11:32 p.m., that stated, “hold on babe we

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doing sum shit with the evidence”. A second text message from CASTILLO to
FEASTER on 8/10/2016 at 3:31 p.m., stated, “can you bring the Glock doe”.

On August 13, 2016, at approximately 10:33 am., FEASTER called her mother from a
blocked number and advised she was fine. At 10:36 a.m., CASTILLO called his mother
from a blocked number and advised he was fine. CMPD determined both calls came
from the same number, 704-303-2408. CMPD learned phone 704-303-2408 was active

and in Phoenix, Arizona.

On August 15, 2016, Agents and Officers at FB] Phoenix, Arizona conducted a knock
and talk at a residence in Phoenix, Arizona and interviewed an aunt of CASTILLO.
Agents learned CASTILLO and FEASTER had been there but went to a bus station that
takes passengers to Mexico. Investigators learned CASTILLO’s father resides in

Mexico.

On August 15, 2016, Agents and Officer at FBI Phoenix recovered SANDY’s vehicle
parked at a bus station, but no persons were located. SANDY’s whereabouts are still

unknown.

On August 16, 2016, CMPD Detective Ally Rooks obtained state arrest warrants for
CASTILLO and FEASTER for Possession of a Stolen Motor Vehicle, a Felony. CMPD
requested the FBI’s assistance in locating and arresting CASTILLO and FEASTER, who
have fled the State of North Carolina.

On or about August 16, 2016, the Honorable David S. Cayer, United States Magistrate
Judge, issued the original arrest warrant for CASTILLO and FEASTER.

On October 20, 2016, FEASTER was detained in Mexico by Mexican Immigration,
deported to the United States, and was taken into CMPD’s custody.

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On October 22, 2016, FEASTER was charged with Accessory After The Fact, a Felony.

On November 2, 2016, Mecklenburg County Magistrate Judge T. Carver issued an arrest
warrant for the arrest of CASTILLO on the felony charge of First Degree Murder in the
case of State of North Carolina vs. Alexandro Castillo, Case No. 16CR241216. (State

arrest warrant attached).

On February 8, 2016, the Office of the District Attorney, Twenty Sixth Prosecutorial
District provided a letter of extradition for CASTILLO.

Based on the aforementioned facts, this Affiant believes that while in the Western District
of North Carolina and elsewhere, ALEJANDRO ROSALES CASTILLO did commit one
count of Murder, a violation of North Carolina General Statute 14-17 and then fled North
Carolina to avoid prosecution, in violation of Title 18, United States Code, Section 1073

(Unlawful Flight to Avoid Prosecution).

Your Affiant respectfully requests the issuance of this Criminal Complaint and Arrest

Warrant based on the facts contained within this Affidavit.

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20. Your Affiant further moves for an Order sealing the complaint affidavit, and associated

Mare D. Weingrad 3
Special Agent
Federal Bureau of Investigations

paperwork.

Sworn to and subscribed before me this 10" day of February, 2017.

wot ACE ID C. KEESLER

UNITED STATES MAGISTRATE JUDGE
WESERN DISTRICT OF NORTH CAROLINA

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